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   1   KINSELLA WEITZMAN ISER KUMP
       HOLLEY LLP
   2   Shawn Holley (CA Bar #136811)
       Suann C. MacIsaac (CA Bar #205659)
   3   11766 Wilshire Boulevard, Suite 750
       Los Angeles, CA 90025
   4   Tel: (310) 566-9800
       Fax: (310) 566-9873
   5   sholley@kwikhlaw.com
       smacisaac@kwikhlaw.com
   6
       ZUCKERMAN SPAEDER LLP
   7   Blair G. Brown (admitted pro hac vice)
       Jon R. Fetterolf (admitted pro hac vice)
   8   1800 M Street, N.W., Suite 1000
       Washington, D.C. 20036
   9   Tel: (202) 778-1800
       Fax: (202) 882-8106
  10   bbrown@zuckerman.com
       jfetterolf@zuckerman.com
  11
       ZUCKERMAN SPAEDER LLP
  12   Nell Z. Peyser (admitted pro hac vice)
       485 Madison Avenue, 10th Floor
  13   New York, NY 10022
       Tel: (212) 704-9600
  14   Fax: (212) 704-4256
       npeyser@zuckerman.com
  15
       Attorneys for Plaintiff
  16   TREVOR BAUER
  17

  18                                      UNITED STATES DISTRICT COURT
  19                                CENTRAL DISTRICT OF CALIFORNIA
  20                                              WESTERN DIVISION
  21   TREVOR BAUER,                                       Case No. 2:22-cv-02062-MWF-AGR
  22                                      Plaintiff,
                                                           JOINT STIPULATION OF
  23            vs.                                        DISMISSAL WITH PREJUDICE
                                                           (FED R. CIV. P. 41(a)(1)(A)(ii))
  24
       THE ATHLETIC MEDIA COMPANY
  25   and MOLLY KNIGHT,
                                                           Action Filed: March 29, 2022
  26                                      Defendants.
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       JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
       4867-0703-1400v.4 0113180-000004
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   1            Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Trevor
   2   Bauer and Defendants The Athletic Media Company and Molly Knight, by and
   3   through their respective attorneys, stipulate to the dismissal with prejudice of this
   4   action, including all claims against all parties. The parties are to bear their own
   5   costs and fees.
   6            In stipulating to the dismissal of this action with prejudice, the parties, though
   7   their representatives, state as follows:
   8            The Athletic today posted a clarification to its story dated June 30, 2021,
   9   about a protective order sought against Trevor Bauer by a California woman who
  10   claimed he injured her during rough sex. The clarification states that a CT scan
  11   found no evidence the woman suffered a skull fracture and emergency room
  12   medical records concluded she suffered no such fracture. The Athletic also clarifies
  13   that it did not intend to state or imply that the woman suffered a fractured skull.
  14   Tweets by The Athletic’s reporter Molly Knight in July 2021 regarding the
  15   woman’s alleged injuries previously were withdrawn. Mr. Bauer has agreed that
  16   The Athletic’s clarification and the withdrawal of Ms. Knight’s tweets makes any
  17   further legal action unnecessary, and he has withdrawn his libel action against The
  18   Athletic and Ms. Knight
  19
       DATED: June 27, 2023                ZUCKERMAN SPAEDER LLP
  20                                       BLAIR G. BROWN
                                           JON R. FETTEROLF
  21
                                           NELL Z. PEYSER
  22
                                           KINSELLA WEITZMAN ISER KUMP
  23
                                           HOLLEY LLP
  24                                       SHAWN HOLLEY
                                           SUANN C. MACISAAC
  25

  26                                       /s/ Blair G. Brown
                                           Attorneys for Plaintiff Trevor Bauer
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       JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
       4867-0703-1400v.4 0113180-000004
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   1   DATED: June 27, 2023               DAVIS WRIGHT TREMAINE LLP
   2                                      KELLI L. SAGER
                                          DAN LAIDMAN
   3                                      DIANA PALACIOS
   4                                      ZOË N. MCKINNEY
   5                                      THE NEW YORK TIMES COMPANY
   6                                      DANA R. GREEN
   7                                      /s/ Kelli L. Sager
   8                                      Attorneys for Defendants The Athletic Media
                                          Company and Molly Knight
   9

  10
     *The undersigned, counsel of record for Defendants The Athletic Media Company
  11 and Molly Knight, certifies that all signatories listed, and on whose behalf the filing
  12 is submitted, concur in the filing’s content, and have authorized the filing, pursuant
     to L.R. 5-4.3.4(a)(2)(ii).
  13                                           /s/ Kelli L. Sager
  14                                                        Kelli L. Sager
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       JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
       4867-0703-1400v.4 0113180-000004
